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14

15                                     UNITED STATES DISTRICT COURT

16                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

17                                              OAKLAND DIVISION

18   WHATSAPP LLC, and
                                       )                         Case No. 4:19-cv-07123-PJH
     META PLATFORMS INC.,              )
19
                                       )
                     Plaintiffs,       )                         ADMINISTRATIVE MOTION TO
20
                                       )                         CONSIDER WHETHER ANOTHER
21          v.                         )                         PARTY’S MATERIAL SHOULD BE
                                       )                         FILED UNDER SEAL
22                                     )
     NSO GROUP TECHNOLOGIES LIMITED )
     and Q CYBER TECHNOLOGIES LIMITED, )
23
                                       )
                     Defendants.       )
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                                       )
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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
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 1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) respectfully submit

 4   this Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed. De-

 5   fendants NSO Group Technologies Ltd. and Q Cyber Technologies Ltd. (“Defendants”) propose

 6   that portions of the Declaration of Antonio J. Perez-Marques in Support of Plaintiffs’ Opposition to

 7   Motion for Protective Order (the “Perez-Marques Declaration”), which was filed at Docket No.

 8   182, should be filed under seal. A copy of the Perez-Marques Declaration with Defendants’ pro-
 9   posed redactions is attached hereto as Exhibit 1.
10           Plaintiffs filed the Perez-Marques Declaration electronically on April 24, 2023. On May 5,
11   2023, Defendants informed Plaintiffs of their view that Exhibit A to the Perez-Marques Declaration
12   should have been filed under seal based on Defendants’ designation of that document as “Highly
13   Confidential-Attorney’s Eyes Only.” Although Plaintiffs disagreed with Defendants’ designation,
14   Plaintiffs promptly moved both to remove Exhibit A to the Perez-Marques Declaration from the
15   docket in accordance with Defendants’ request, and for leave to file it under seal. See Admin. Mo-
16   tion to Remove Incorrectly Filed Document, Dkt. No. 185.
17           On May 11, 2023, Plaintiffs received Defendants’ proposed redactions to Plaintiffs’ Memo-
18   randum of Points and Authorities in Opposition to Defendants’ Motion for a Protective Order (the

19   “Memorandum”), which was filed at Docket No. 181-2. Plaintiffs intended to file a redacted ver-

20   sion of the Memorandum on May 12, 2023, along with a version of the Perez-Marques Declaration

21   that redacted Exhibit A. Out of an abundance of caution, Plaintiffs asked Defendants to confirm

22   that they had no objections to Plaintiffs refiling the Perez-Marques Declaration. For the first time

23   on May 15, 2023, Defendants requested additional redactions to the Perez-Marques Declaration,

24   even though Defendants had been served with the Perez-Marques Declaration on April 24, 2023 via

25   ECF, and had not requested any redactions to the Perez-Marques Declaration in Defendants’ May

26   5, 2023 letter.

27           Defendants assert that the proposed redactions to the Perez-Marques Declaration refer to in-

28   formation that is governed by the August 31, 2020 Stipulated Protective Order. See Dkt. No. 132.
                                                             1
     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
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 1   Accordingly, Plaintiffs now move the Court to consider whether Defendants’ material should be

 2   sealed. See N.D. Cal. Civil L. R. 79-5(f). Plaintiffs have already contacted the ECF Help Desk re-

 3   garding this issue, and understand that the ECF Help Desk has temporarily locked the Perez-

 4   Marques Declaration.

 5           Plaintiffs do not concede that the high-level descriptions in Defendants’ proposed redactions

 6   satisfy the definition of “Highly Confidential-Attorney’s Eyes Only” under the Stipulated Protec-

 7   tive Order, but seek this relief out of an abundance of caution in light of Defendants’ new request.

 8   Plaintiffs take no position as to whether the designated documents satisfy the requirements for seal-
 9   ing, and specifically reserve the right to challenge any confidentiality designations as well as the
10   sealability of the documents at issue.
11           Together with this motion, Plaintiffs are also publicly filing a redacted version of the Perez-
12   Marques Declaration, along with a redacted version of Exhibits A through U, reflecting the redac-
13   tions requested by Defendants. See N.D. Cal. Civil L. R. 79-5(d), (e). Specifically, Defendants
14   have asked Plaintiffs to redact certain portions of the Perez-Marques Declaration, and the entirety
15   of Exhibit A to the Perez-Marques Declaration. Plaintiffs have complied. All other Exhibits are
16   being refiled without redaction, except for Exhibit S, which was separately filed under seal. See
17   Dkt. No. 181-3.
18           The Administrative Motion is based on this Notice of Motion and the [Proposed] Order.

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 2   Dated: May 16, 2023                                Respectfully Submitted,

 3                                                      DAVIS POLK & WARDWELL LLP
 4
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                                                                 Attorneys for Plaintiffs WhatsApp LLC and
18                                                               Meta Platforms, Inc.

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